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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

 In Re:                                           Case No. 19-30916-KKS

 Cody Allen Creamer                               Chapter 13

 Debtor.                                          Judge Karen K. Specie

  REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

        Please take notice that D. Anthony Sottile, as authorized agent for Home Point Financial
Corporation, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and 9007
of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of the
United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be given
and all papers served or required to be served in this case also be given to and served, whether
electronically or others on:
          D. Anthony Sottile
          Authorized Agent for Home Point Financial Corporation
          394 Wards Corner Road, Suite 180
          Loveland, OH 45140
          Phone: 513.444.4100
          Email: bankruptcy@sottileandbarile.com


 Dated: August 29, 2019                           /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
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                                  CERTIFICATE OF SERVICE

I certify that on August 29, 2019, a copy of the foregoing Request for Service of Notices was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

       Leigh D. Hart, Chapter 13 Trustee
       idhdock@earthlink.net

       Office of the United States Trustee
       ustpregion21.tl.ecf@usdoj.gov

I further certify that on August 29, 2019, a copy of the foregoing Request for Service of Notices
was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the following:

       Cody Allen Creamer, Debtor / PRO SE
       1043 Fleming Drive
       Pensacola, FL 32514
                                                     /s/ D. Anthony Sottile
                                                     D. Anthony Sottile
                                                     Authorized Agent for Creditor
                                                     Sottile & Barile, LLC
                                                     394 Wards Corner Road, Suite 180
                                                     Loveland, OH 45140
                                                     Phone: 513.444.4100
                                                     Email: bankruptcy@sottileandbarile.com
